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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA         :
                                 :
     v.                          : Crim. No. 3:08-cr-00177 (AWT)
                                 :
MICHAEL RUDKIN                   :




          ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

     For the reasons set forth below, defendant Michael Rudkin’s

Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(1)(A)(i)

and the First Step Act (ECF Nos. 58 and 55) is hereby DENIED.

     Defendant Michael Rudkin states in support of his motion

that his medical conditions include “heart failure, thyroid

failure, high cholesterol and seizures”.       Supporting Mem. (ECF

No. 58-1) at 1.   He contends that these medical conditions, in

conjunction with “the growing COVID-19 pandemic, which has made

the defendant’s sentence much more punitive than intended” makes

appropriate a reduction in his sentence.       Id.

     In June 2009, the defendant was sentenced in this case to

15 years of imprisonment for an attempt to have his then-wife

killed.   See Gov’t’s Opposition (ECF No. 60) at 1.        “A year

later, while serving his Connecticut sentence at a federal

facility in Florida, Mr. Rudkin solicited two inmates there to

murder his ex-wife, her boyfriend, the inmate who had cooperated
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in the Connecticut matter, and the federal agent who had

investigated his Connecticut case.”       Id.   Consequently, he was

charged in a second federal case and “[f]ollowing a trial, the

Florida federal court sentenced Mr. Rudkin to a total sentence

of 90 years, to run consecutively to the Connecticut sentence.”

Id.

      Section 3582(c)(1)(A) of Title 18 of the United States Code

requires as an initial matter that:

      the defendant has fully exhausted all administrative rights
      to appeal a failure of the Bureau of Prisons to bring a motion
      on the defendant’s behalf or the lapse of 30 days from the
      receipt of such a request by the warden of the defendant’s
      facility, whichever is earlier . . . .

18 U.S.C. § 3582(c)(1)(A).      Assuming a defendant has exhausted

administrative remedies, a court may reduce a term of

imprisonment under Section 3582(c)(1)(A)(i) if, after

considering the factors set forth in 18 U.S.C. § 3553(a) to the

extent they are applicable, the court finds that “extraordinary

and compelling reasons warrant such a reduction” and “that such

a reduction is consistent with applicable policy statements

issued by the Sentencing Commission”.        18 U.S.C. §

3582(c)(1)(A)(i).

      It is undisputed that the defendant has satisfied the

requirement with respect to exhaustion of administrative

remedies.   However, the defendant’s motion is being denied for

two reasons.

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     First, the defendant’s medical records indicate that the

Bureau of Prisons administered to him the first dose of the

COVID-19 vaccine produced by Pfizer on January 19, 2021.

     Evidence that a defendant has been offered the vaccine,
     whether he accepts it or not, demonstrates that he had the
     ability and opportunity to take measures to markedly reduce
     his risk of severe illness or death from COVID-19 while
     incarcerated.

United States v. Poupart, No. 3:11CR116 (JBA), 2021 WL917067, at

*1 (D. Conn. Mar. 10, 2021).        Consequently, the fact that the

defendant has been vaccinated means that his medical conditions

no longer support a conclusion that the more severe illness or

death from COVID-19 presents an extraordinary and compelling

reason warranting reduction of his sentence.

     Second, the court agrees with the government that “[h]ere,

the section 3553(a) factors weigh overwhelmingly against

granting relief.      Mr. Rudkin’s crime——soliciting someone to have

his wife murdered——is among the most serious prosecuted in this

Court.    Mr. Rudkin’s conduct included the sexual abuse of a FCI

Danbury inmate, which exacerbates the seriousness of the

offense.”     Gov’t’s Opposition at 13.      Any reduction of the

defendant’s sentence runs counter for the need for the sentence

in this case to reflect the seriousness of the offense and

provide just punishment.       Moreover, any reduction would also run

counter to the need to protect the public from the defendant.



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The government accurately summarizes the situation with respect

to that concern as to this defendant:

           In addition, given Mr. Rudkin’s subsequent conviction in
      the Middle District of Florida for the exact same conduct,
      this Court should consider the need to protect the public
      (including the intended victims in the Connecticut case and
      the Florida case) from Mr. Rudkin. This Court should be
      mindful that the 15-year sentence imposed by Judge Burns did
      nothing to deter Mr. Rudkin from violating the law again.
      Indeed, Mr. Rudkin escalated his conduct after the
      Connecticut sentence was imposed, attempting to have
      additional people murdered.

Id.

      It is so ordered.

      Signed this 25th day of May 2021 at Hartford, Connecticut.



                                            /s/AWT   _      __
                                       Alvin W. Thompson
                                  United States District Judge




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